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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

Vv.

ETHAN NORDEAN,

JOSEPH BIGGS, Criminal Action No. 21-175 (TJK)
ZACHARY REHL,
ENRIQUE TARRIO, and
DOMINIC PEZZOLA,

Defendants.

RESPONSE TO JURY NOTE OF MAY 3, 2023 AT 9:11 A.M.

The attached page corrects the typographical error that you identified on the Verdict Form.

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TIMOTHY J. KELLY
United States District Judge

